                             UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

In re:                                                   )     Chapter 11
                                                         )
Squirrels Research Labs LLC et al.,1                     )     Case No. 21-61491
                                                         )     (Jointly Administered)
                          Debtors.                       )
                                                         )     Judge Russ Kendig


      NOTICE OF MOTION OF DEBTORS AND DEBTORS-IN-POSSESSION FOR
      ENTRY OF AN ORDER: (I) ESTABLISHING PROCEDURES FOR INTERIM
    COMPENSATION AND REIMBURSEMENT OF EXPENSES OF PROFESSIONALS
       ON A MONTHLY BASIS AND (II) LIMITING SERVICE OF NOTICES OF
         HEARINGS ON INTERIM APPLICATIONS FOR COMPENSATION

         PLEASE TAKE NOTICE THAT on December 8, 2021, the debtors and debtors-in-

possession (each a “Debtor” and collectively, the “Debtors”), in the above-captioned Chapter 11

cases, filed the Motion of Debtors and Debtors-in-Possession For Entry of an Order: (I)

Establishing Procedures For Interim Compensation and Reimbursement of Expenses of

Professionals on a Monthly Basis and (II) Limiting Service of Notices of Hearings on Interim

Applications For Compensation (the “Motion”).

         Your rights may be affected. You should read the Motion carefully and discuss it with

your attorney, if you have one in these bankruptcy cases. (If you do not have an attorney, you

may wish to consult one.)

         Pursuant to Local Rule 9013-1(b), if you do not want the Court to grant the relief

requested in the Motion, or if you want the Court to consider your views on the Motion, then on



1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Squirrels Research Labs LLC (9310), case no. 21-61491 and The Midwest Data Company LLC (1213),
case no. 21-61492.




21-61491-tnap         Doc 65      FILED 12/08/21             ENTERED 12/08/21 15:40:27              Page 1 of 2
or before December 22, 2021, you or your attorney must file with the Court a written objection

explaining your position at:

                                United States Bankruptcy Court
                                Office of the Clerk
                                Ralph Regula Federal Building and U.S. Courthouse
                                401 McKinley Avenue, SW
                                Canton, Ohio 44702

You must also serve a copy of your request on the undersigned counsel:

                                Marc B. Merklin
                                Julie K. Zurn
                                Bridget A. Franklin
                                Brouse McDowell LPA
                                388 S. Main Street, Suite 500
                                Akron, Ohio 44311

                                Proposed Counsel for the
                                Debtors and Debtors-in-Possession

          Pursuant to Local Rule 9013-1(d), if you or your attorney do not take these steps, the

Court may grant the relief requested without conducting a hearing and without further notice to

you.

Dated: December 8, 2021                         Respectfully submitted,

                                                /s/ Julie K. Zurn
                                                Marc B. Merklin (0018195)
                                                Julie K. Zurn (0066391)
                                                Bridget A. Franklin (0083987)
                                                BROUSE McDOWELL, LPA
                                                388 S. Main Street, Suite 500
                                                Akron, Ohio 44311
                                                Telephone: (330) 535-5711
                                                Facsimile: (330) 253-8601
                                                mmerklin@brouse.com
                                                jzurn@brouse.com
                                                bfranklin@brouse.com

                                                Proposed Counsel for the
                                                Debtors and Debtors-in-Possession

1364301




21-61491-tnap        Doc 65     FILED 12/08/21      ENTERED 12/08/21 15:40:27           Page 2 of 2
